






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-175 CR


____________________



CHARLES GUIDRY, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 2062 (93428)






MEMORANDUM OPINION (1)


	Charles Guidry filed a notice of appeal on April 27, 2005, from an order denying
a pre-trial application for writ of habeas corpus.  See Tex. Code Crim. Proc. Ann. art.
11.08 (Vernon 2005).  The trial court entered a certification of the defendant's right to
appeal in which the court certified that the defendant has no right of appeal.  See Tex. R.
App. P. 25.2(a)(2).  The trial court's certification has been provided to the Court of
Appeals by the district clerk.

	On April 28, 2005, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered June 15, 2005

Do Not Publish

Before McKeithen, C.J., Gaultney and Horton, JJ.
1. Tex. R. App. P. 47.4.


